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                      FOR PUBLICATION

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT

       EAST BAY SANCTUARY                   No. 23-16032
       COVENANT; CENTRAL
       AMERICAN RESOURCE CENTER;           D.C. No. 4:18-cv-
       TAHIRIH JUSTICE CENTER;                06810-JST
       NATIONAL CENTER FOR
       LESBIAN RIGHTS; IMMIGRANT
       DEFENDERS LAW CENTER;                   ORDER
       AMERICAN GATEWAYS,

                   Plaintiffs-Appellees,

         v.

       JOSEPH R. BIDEN, President of the
       United States; MERRICK B.
       GARLAND, Attorney General;
       UNITED STATES DEPARTMENT
       OF JUSTICE; DAVID NEAL;
       EXECUTIVE OFFICE FOR
       IMMIGRATION REVIEW;
       ALEJANDRO N. MAYORKAS; U.S.
       DEPARTMENT OF HOMELAND
       SECURITY; UR M. JADDOU;
       UNITED STATES CITIZENSHIP
       AND IMMIGRATION SERVICES;
       TROY A. MILLER; UNITED
       STATES CUSTOMS AND BORDER
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       PROTECTION,

                        Defendants-Appellants.

                           Filed February 21, 2024

            Before: William A. Fletcher, Richard A. Paez, and
                   Lawrence VanDyke, Circuit Judges.

                                   Order;
                         Dissent by Judge VanDyke


                                 SUMMARY *


                                 Immigration

           In a case in which the government appealed the district
       court’s order vacating the government’s rule,
       “Circumvention of Lawful Pathways,” which applies a
       presumption of asylum ineligibility to noncitizens who
       traveled through a country other than their own before
       entering the United States through the southern border with
       Mexico, the majority of the panel issued an order granting
       the parties’ Joint Motion to Place Appeal in Abeyance
       pending settlement negotiations in this case, and a related
       case, M.A. v. Mayorkas, No. 1:23-cv-1843 (D.D.C.). The
       order also provided that submission of the case was vacated
       pending further court order.

       *
        This summary constitutes no part of the opinion of the court. It has
       been prepared by court staff for the convenience of the reader.
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            Dissenting, Judge VanDyke would deny the stay because
       the government has not provided a sufficient legal reason to
       grant it. The only reason provided is that the government is
       litigating multiple cases in multiple courts, which is hardly
       abnormal for the government. Because the request for a stay
       appears to be purely politically motivated, and the parties
       have provided no genuine legal reason for it, he would not
       grant the stay.


                               COUNSEL

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       Services Organizations.


                                 ORDER

           The parties in this appeal have filed a Joint Motion to
       Place Appeal in Abeyance (Dkt. No. 83) pending settlement
       negotiations in this case, and a related case, M.A. v.
       Mayorkas, No. 1:23-cv-1843 (D.D.C.). The motion is
       GRANTED as follows:
           This appeal is placed in abeyance pending the parties’
       settlement discussions. The parties shall file a joint status
       report 60 days after the entry of this order and every 60 days
       thereafter. If the parties settle this case or settlement
       discussions fail, the parties shall promptly notify the court.
       Submission of this case is vacated pending further court
       order.


       VANDYKE, Circuit Judge, dissenting:

           The current administration promulgated the rule
       challenged in this case to help manage the “historic surge in
       migration” that followed the end of the Title 42 order and to
       relieve “significant strain on DHS’s operational capacity at
       the border.” See 88 Fed. Reg. 31314 (May 16, 2023)
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       (codified at 8 C.F.R. §§ 208.33, 1208.33). After the
       plaintiffs brought this case to enjoin and vacate the rule, the
       federal government spent the better part of a year vigorously
       defending the rule’s critical necessity before the district
       court and in this court—all because, in the government’s
       words, “any interruption in the rule’s implementation will
       result in another surge in migration that will significantly
       disrupt and tax DHS operations.” Indeed, only a few months
       ago, the government insisted that “[i]f the Rule is
       unavailable, [it] expects ‘a surge … that could match—or
       even exceed—the levels seen in the days leading up to the
       end of’ the Title 42 order,” and that “the negative
       consequences of such an increase in migration—for the
       government, for migrants, and for the public—would be
       even greater than [before].” The executive even went so far
       as to urge that if our court were to rule against it in this
       appeal, we should nevertheless stay our decision pending the
       filing of a petition for relief from the Supreme Court to avoid
       the disastrous consequences of the rule not being in force
       even for a short period of time. And while the outcome of
       this case in the lower courts (including this one) was
       anything but certain given the mess we previously made of
       our precedent during our court’s immigration wars with the
       prior presidential administration, the government has to
       know the Supreme Court would likely not only reach the
       correct result in this case, but in doing so rectify some of our
       court’s erroneous precedent. Any adverse decisions from
       the Northern District of California and the Ninth Circuit
       would be mere temporary speed bumps on the way to
       eventual, likely inevitable, vindication of the rule from the
       Supreme Court.
          Taking the government at its word about the pressing
       need for this crucial rule to remain in effect and be enforced,
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       our court granted a stay of the district court’s decision
       enjoining the government’s rule. We heard oral argument
       and are now poised to render our decision. Then suddenly,
       out of the blue, the parties come to us hand-in-hand, jointly
       asking us to hold off making a decision while they “engage[]
       in discussions regarding the Rule’s implementation and
       whether a settlement could eliminate the need for further
       litigation.” For months, the rule was so important that “any
       interruption” in its implementation, even for a short period
       of time, would incapacitate the executive’s border response.
       This panel made decisions based on those representations.
       Now, the government implies the rule isn’t so important after
       all. Indeed, the government is now “engaged in discussions”
       that could result in the rule going away. What?
            The administration’s abrupt about-face makes no sense
       as a legal matter. Either it previously lied to this court by
       exaggerating the threat posed by vacating the rule, or it is
       now hiding the real reason it wants to hold this case in
       abeyance. Given its success thus far in defending a rule it
       has consistently characterized as critical to its control of the
       border, and the fact that it has to realize its odds of success
       in this case can only improve as it works its way vertically
       through the federal court system, the government’s sudden
       and severe change in position looks a lot like a purely
       politically motivated attempt to throw the game at the last
       minute. At the very least it looks like the administration and
       its frenemies on the other side of this case are colluding to
       avoid playing their politically fraught game during an
       election year.
           This court is a legal institution, not a political one. Thus
       it must insist that parties provide adequate legal
       justifications for the relief they seek, whatever their
       underlying political motivations may be. While I am of
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       course agnostic as to the sufficiency of the government’s
       political reasons for suddenly reversing course, it has
       provided no coherent legal reason why it has suddenly
       changed its position about the importance of the continued
       enforcement of the rule challenged in this case, so I would
       not grant the stay now requested.
           While we often hold cases in abeyance during settlement
       negotiations, the government has not given us any real
       reason to do so here. The vague reasons the parties have
       provided for a stay of litigation are sharply at odds with the
       reasons the government gave us just a few short months ago
       for granting a stay of the district court’s preliminary
       injunction. The purported reason for halting this case is that
       “there are currently two pending cases raising overlapping
       claims relating to the Rule and its implementation that have
       been brought by some similarly situated plaintiffs
       represented by overlapping counsel.” This sounds more like
       a normal day in the life of a DOJ litigator than a compelling
       reason to stay a case. Having multiple cases about the same
       issue in multiple courts is the norm for our federal
       government, so it can’t be a real reason to slam the brakes
       on a case. And it’s not as if there is already a decision from
       a lower court in another circuit awaiting a helpful verdict on
       appeal. There are simply two similar proceedings, and since
       the present one has progressed farther along than the one in
       the District Court for the District of Columbia, it makes little
       sense to think that proceeding is a reason to stay this one.
       The federal government routinely litigates similar issues in
       multiple courts, even when different circuits reach different
       conclusions.
           Aside from the non-reason provided by the parties, it is
       difficult to think of any other legal reason why they would
       seek to hold this case in abeyance. The parties raise the
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       prospect of settlement but have provided no reason why
       either party would actually want to settle at this point given
       what the parties have previously told this court. Any effect
       of the government’s only loss at this point has been reversed
       by winning a stay from this court of the district court’s
       vacatur. Based on the issuance of that stay, the only
       reasonable conclusion was that a majority of the panel in this
       case thought the government was likely to prevail on the
       merits. See Nken v. Holder, 556 U.S. 418, 425–26 (2009)
       (stating that one of the relevant factors in deciding to grant a
       stay is “whether the stay applicant has made a strong
       showing that he is likely to succeed on the merits” (emphasis
       added)). Even assuming the government were to lose before
       this court on the merits, which would make our prior
       decision to stay the district court’s vacatur all the more
       perplexing, it is clear enough that the government is destined
       to prevail before the Supreme Court—whether on an
       emergency or permanent basis. Indeed, the government has
       already strongly implied that it planned to do exactly that if
       it lost before this court.
           Given all of this, it’s hard to avoid any impression other
       than that the administration is snatching defeat from the jaws
       of victory—purposely avoiding an ultimate win that would
       eventually come later this year, whether from this court or
       from the Supreme Court.
           It is also unclear what a settlement would even look like
       in this case. In its briefing, the government has repeatedly
       stressed the vital importance of this rule in fending off the
       border crisis. As the government explained, “[w]ithout the
       Rule, the expected increase in border encounters threatened
       to overwhelm the Departments’ ‘ability to effectively
       process, detain, and remove, as appropriate, the migrants
       encountered,’ with attendant increases in the number of
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        migrants unlawfully present in the country, strains on
        government operations and resources, health and safety
        concerns for migrants at overcrowded processing facilities,
        and impacts on local communities along the southwest
        border.” In the days before Title 42 ended, “‘DHS saw a
        historic surge in migration’ … that ‘culminated with the
        highest recorded encounter levels’ in history and ‘placed
        significant strain on DHS’s operational capacity at the
        border.’” “Encounters between ports of entry nearly
        doubled in the month before May 11, increasing ‘from an
        average of approximately 4,900 per day’ to ‘approximately
        9,500 per day,’ including even higher numbers in the final
        few days.” “Between May 8 and 11, the Border Patrol’s
        ‘daily in-custody average’ was approximately 50% above
        ‘its holding capacity.’” According to the government, “that
        overcrowding, combined with an increased average time in
        custody because of the many noncitizens who CBP needed
        to process, generated serious ‘health and safety risks to
        noncitizens, government personnel, and contract support
        staff.’”
             “If the Rule is unavailable, the government expects ‘a
        surge in border crossings that could match—or even
        exceed—the levels seen in the days leading up to the end of’
        the Title 42 order. The government thus ‘anticipates that any
        interruption in the rule’s implementation will result in
        another surge in migration that will significantly disrupt and
        tax DHS operations.’” Given the criticality of this potential
        disruption in border operations, the government has
        repeatedly requested that “if the Court affirms in whole or in
        part, it leave the stay pending appeal in place pending the
        filing and disposition of any petition for further review.” In
        other words: if you’re going to rule against us, please please
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        please make sure we have the opportunity to get a stay from
        the Supreme Court since this rule is so important.
             Unless the government has grossly misrepresented the
        importance of its rule and the ramifications of vacating it in
        its prior filings before this court, it seems that any prospect
        of settling this case by recission of the rule would be a
        nonstarter. Indeed, the government has been very careful not
        to suggest that in its intentionally vaguely worded joint
        motion to hold this case in abeyance.
            And it would make little sense for the plaintiffs—who
        are public interest groups insisting they are harmed by the
        mere existence of the rule and that the rule is contrary to
        law—to accept anything less than rescission of the rule. It
        is therefore difficult to see what kind of acceptable middle
        ground the two parties could reach that would satisfy the
        plaintiffs while allowing the government to keep enforcing
        the rule.
            The standardless timeline of the jointly requested
        abeyance is further evidence that this seems to be nothing
        more than a collusive effort to postpone resolution of this
        case until a more politically palatable time. The parties have
        given no indication how long they expect the abeyance
        period to last, saying only that they will provide status
        reports every 60 days. Should the court expect to sit on this
        case forever? Until after election day in November? Until
        ballot counting is finished long after that election? January
        6, 2025? Given that the parties have provided no real reason
        why they are asking to abruptly halt this appeal, we have no
        idea when they plan to start it up again. My guess is that
        sometime after November would fit their “settlement
        negotiations” needs nicely.
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            Even if the government’s recent explanations cannot be
        taken at face value, we do know a few things for certain.
        This administration went to considerable lengths to both
        promulgate this rule and vigorously defend it. Yet now, a
        mere nine months before the general election, and in the face
        of an immigration crisis that has produced one of the most
        intense showdowns between state and federal government in
        recent memory, the administration is requesting something
        that is completely inconsistent with its previous actions and
        representations to the court. So why? As I see it, there are
        several interrelated possibilities, all of which are wholly
        political—not legal—and thus do not merit the relief
        requested.
            The administration may want to avoid going before the
        Supreme Court to defend a rule that is obviously unpopular
        with its base during a presidential election year in which
        immigration figures to be an important issue. The rule puts
        the administration in a political pickle. It is both politically
        unpopular with some of its own constituency, and, as the
        government has vigorously argued, deeply necessary to
        prevent a worsening of the border crisis, which is perceived
        as one of this administration’s political vulnerabilities. An
        abeyance splits the baby, temporarily ensuring that an
        important tool in its immigration-enforcement toolbox
        remains in place, while postponing any potential Supreme
        Court fight about that tool until after the election. This
        temporary resolution to the political problems presented by
        this litigation affords the administration plausible deniability
        it can pitch to its base while it nevertheless continues to
        enforce the rule to stave off a worse crisis at the southern
        border.
           The government might also simply be trying to avoid
        another immigration loss in court, the optics of which could
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        be particularly devastating during the current immigration
        crisis.    Americans of all political persuasions are
        increasingly focused on—and worried about—the situation
        on our southern border. 1 Placing these proceedings in
        abeyance avoids the possibility of a loss before the Ninth
        Circuit that could potentially exacerbate the issues at the
        border in the months leading up to the election—a loss made
        even more damaging given that it would be meted out by a
        panel comprised primarily of Democratic appointees, no
        less. The CNN headline practically writes itself: “Biden
        Immigration Enforcement Policy Struck Down by Two
        Clinton Appointees.”
            Relatedly, the administration may be seeking to create
        policy that resonates with its base while blaming the
        practical results of that policy on the courts. Such a strategy
        would be remarkably simple for the government to enact.

        1
          See, e.g., Statement from President Joe Biden On the Bipartisan Senate
        Border Security Negotiations, The White House (Jan. 26, 2024),
        https://www.whitehouse.gov/briefing-room/statements-
        releases/2024/01/26/statement-from-president-joe-biden-on-the-
        bipartisan-senate-border-security-negotiations (President Joe Biden
        calling the border “broken”); Reese Gorman, Fetterman continues his
        feud with progressive Democrats and says they ‘left’ him, Washington
        Examiner                   (Jan.                 20,               2024),
        https://www.washingtonexaminer.com/news/2808370/fetterman-
        continues-his-feud-with-progressive-democrats-and-says-they-left-him/
        (Pennsylvania Senator John Fetterman saying “There is a crisis …. We
        have a crisis at our border, and it can’t be controversial that we should
        have a secure border.”); Greg Abbott (@GregAbott_TX), Twitter (Sep.
        20,                    2023,                  4:34                   PM),
        https://twitter.com/GregAbbott_TX/status/1704640256429985863
        (describing the border crisis as “an invasion”); ‘Secure our border along
        the southwest,’ Senator Cortez Masto speaks on protection issues, News
        3 Las Vegas (Jan. 24, 2024) (Nevada Senator Catherine Cortez Masto
        calling to “secure our border along the southwest”).
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        Step one: Stay proceedings before a final vindication of its
        position. Step two: Settle, agree not to enforce the rule, and
        blame the courts for tying its hands. If this is truly the
        government’s plan, then it is for all practical purposes
        seeking to repeal the rule without the need for notice and
        comment, and its pro forma defense of the rule has been
        rendered nothing more than a half-measure—an illusion. It
        could take credit for creating an important rule and
        defending it with one hand, and then, by colluding with the
        plaintiffs, it can set the policy it actually wants with the
        other, all while publicly blaming the result—cloaked as it is
        in the language of a judicial “settlement”—on the courts.
        This would be even worse than “rulemaking-by-collective-
        acquiescence.” Arizona v. City & County of San Francisco,
        596 U.S. 763, 765–66 (2022) (Roberts, C.J., concurring).
        It’s “rulemaking by political settlement” while dishonestly
        shifting the blame to the non-political branch of government.
            Likewise, the executive may once again be trying to
        insulate bad Ninth Circuit caselaw from Supreme Court
        review. As I and others have previously written, our Easy
        Bay precedents are clearly wrong. See E. Bay Sanctuary
        Covenant v. Biden, 993 F.3d 640, 696 (9th Cir. 2021)
        (VanDyke, J., dissenting from the denial of rehearing en
        banc); id. at 687 (Bumatay, J., same). Yet they aided the
        Democratic cause by invalidating Trump-era immigration
        rules. If this case gets before the Supreme Court, the safe
        bet is that it would overrule those erroneous precedents.
        This settlement tactic is therefore a powerful tool for the
        administration: it lets it perpetuate bad—but politically
        favorable—law in the Ninth Circuit by settling before
        reaching the Supreme Court, and then throw up its hands and
        say it is bound by that law.
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            Ultimately, it is impossible to know the government’s
        exact motives for its current course of action because it
        hasn’t even attempted to tell us. But putting aside the
        political legitimacy of any of the potential motivations
        discussed above, one thing is clear: none of them are a
        legally sufficient reason to grant a judicial stay of this case,
        particularly since the request is directly at odds with the
        many dire predictions the government has previously made
        before this court. Up until now, we have been repeatedly
        assured that the rule is critical to the security of the border.
        But now, astoundingly, the government seeks to abandon its
        defense of the rule—or at least put that defense on ice until
        a more politically convenient time. Whatever the parties’
        real motivations are for seeking to stay this case, they
        haven’t provided us with a legally sufficient basis for their
        sudden change of course. Accordingly, I respectfully dissent
        from the panel’s decision to grant the stay motion.
